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    8

    9                            UNITED STATES DISTRICT COURT
   10            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   11

   12   DOMINIQUE WASHINGTON,                         Case No: 2:19-cv-05226-MCS-KS
   13                          Plaintiff,
                                                      DECLARATION OF SEAN F. DALEY
   14           v.                                    IN SUPPORT OF DEFENDANT
                                                      FEDEX GROUND PACKAGE
   15   FEDEX GROUND PACKAGE                          SYSTEM, INC.’S MOTION IN
        SYSTEM, INC., a Delaware                      LIMINE NO. 1 TO BIFURCATE
   16   corporation; and DOES through 20,             PUNITIVE DAMAGES FROM
        inclusive,,                                   LIABILITY AND EXCLUDE ALL
   17                                                 ARGUMENT AND EVIDENCE
                                Defendant.            REGARDING REFERENCE TO
   18                                                 DEFENDANT’S PROFITS OR
                                                      FINANCIAL CONDITION IN FRONT
   19                                                 OF JURY
   20                                                 Final Pretrial Conference
   21                                                 Date:          June 21, 2021
                                                      Time:          2:00 p.m.
   22                                                 Location:      United States Courthouse
                                                                     350 W. First Street
   23                                                                Courtroom 7C, 7th Floor
                                                                     Los Angeles, CA 90012
   24

   25                                                 Complaint Filed: May 14, 2019
                                                      Trial Date:      July 13, 2021
   26

   27

   28


                        DECLARATION OF SEAN F. DALEY ISO DEFENDANT’S MOTION IN LIMINE NO. 1
        FP 40663294.1
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        1                           DECLARATION OF SEAN F. DALEY
        2             I, Sean F. Daley hereby declare and state as follows:
        3             1.     I am an attorney at law duly licensed to practice before all courts in
        4    the State of California. I am partner with Fisher & Phillips LLP, counsel of record
        5    for Defendant FEDEX GROUND PACKAGE SYSTEM, INC. (“Defendant” or
        6    “FedEx Ground”). I am one of the attorneys primarily responsible for the handling
        7    of this case and, as such, have personal knowledge of the facts surrounding the
        8    present action and all facts herein stated. If called upon to testify, I could and would
        9    competently do so under oath as to the truth of the matters stated herein.
      10              2.     This Declaration is made in support of FedEx Ground’s Motion in
      11     Limine No. 1 for an order bifurcating the trial into two phases, liability and punitive
      12     damages, and precluding Plaintiff Dominique Washington and her attorneys and
      13     witnesses from (i) mentioning her claims for punitive damages to the jury during
      14     the liability phase, (ii) making reference to, or introducing evidence of, FedEx
      15     Ground’s purported “punitive” conduct, and (iii) making reference to, or
      16     introducing evidence of FedEx Ground’s financial condition during the liability
      17     phase.
      18              3.     Prior to fìling this Motion, Defendant engaged in good faith meet and
      19     confer discussions with Plaintiff, but was unable to resolve the issues which are the
      20     subject of this Motion. Specifically, on May 25, 2021, Plaintiff’s counsel and
      21     Defendant’s counsel met and conferred regarding the scope of this motion in
      22     limine. Plaintiff’s counsel was unwilling to stipulate.
      23              I declare under penalty of perjury under the laws of the State of California
      24     and the United States of America that the foregoing is true and correct. Executed
      25     on June 1, 2021, at Pasadena, California.
      26
                                                             /s/Sean F. Daley
      27
                                                             Sean F. Daley
      28

                                                        2
                       DECLARATION OF SEAN F. DALEY ISO DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40663294.1
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        1                                   PROOF OF SERVICE
                                          (CCP § 1013(a) and 2015.5)
        2
                    I, the undersigned, am employed in the County of Los Angeles, State of
        3    California. I am over the age of 18 and not a party to the within action; am
             employed with Fisher & Phillips LLP and my business address is 444 South Flower
        4    Street, Suite 1500, Los Angeles, California 90071.
        5           On June 1, 2021, I served the foregoing document entitled
             DECLARATION OF SEAN F. DALEY IN SUPPORT OF DEFENDANT
        6    FEDEX GROUND PACKAGE SYSTEM, INC.’S MOTION IN LIMINE NO.
             1 TO BIFURCATE PUNITIVE DAMAGES FROM LIABILITY AND
        7    EXCLUDE ALL ARGUMENT AND EVIDENCE REGARDING
             REFERENCE TO DEFENDANT’S PROFITS OR FINANCIAL
        8    CONDITION IN FRONT OF JURY on all the appearing and/or interested
             parties in this action by placing  the original a true copy thereof enclosed in
        9    sealed envelope(s) addressed as follows:
      10
              Kaveh S. Elihu, Esq.                         Attorney for Plaintiff
      11      EMPLOYEE JUSTICE LEGAL GROUP                 DOMINIQUE WASHINGTON
              3055 Wilshire Boulevard, Suite 1120
      12      Los Angeles, CA 90010                        Tel: 213.382.2222
                                                           Fax: 213.382.2230
      13                                                   E-mail: kelihu@ejlglaw.com;
                                                           dfriedman@ejlglaw.com;
      14                                                   hortiz@ejlglaw.com

      15            [by ELECTRONIC SERVICE] - Based on a court order or an agreement
                     of the parties to accept service by electronic transmission, I caused the
      16             documents to be sent to the persons at the electronic notification address
                     listed above.
      17
                    [by PERSONAL SERVICE] - I caused to be delivered by messenger such
      18             envelope(s) by hand to the office of the addressee(s). Such messenger is
                     over the age of eighteen years and not a party to the within action and
      19             employed with Express Network, whose business address is 1605 W.
                     Olympic Boulevard, Suite 800, Los Angeles, CA 90015.
      20
                    I declare under penalty of perjury under the laws of the State of California
      21     that the foregoing is true and correct.
      22
                     Executed June 1, 2021, at Los Angeles, California.
      23
               Mayra Hernandez                      By: /s/Mayra Hernandez
      24                     Print Name                                   Signature

      25

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      27
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                                                      3
                                               PROOF OF SERVICE
19674.0261   FP 40663294.1
